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                  UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MASSACHUSETTS


                                   )
PEDRO LOPEZ; ABEL CANO;            )
KEVIN SLEDGE; CHARLES DEJESUS;     )
RICHARD BROOKS; ROBERT ALVAREZ; )
MARISOL NOBREGA; SPENCER TATUM; )
THE MASSACHUSETTS HISPANIC LAW     )
ENFORCEMENT ASSOCIATION,           )
INDIVIDUALLY AND ON BEHALF OF A    )
CLASS OF INDIVIDUALS SIMILARLY     )
SITUATED,                          )
                                   )
      Plaintiffs                   )
                                   )
      v.                           )
                                   )        Case No. 07-CA-11693-JLT
CITY OF LAWRENCE, MASSACHUSETTS; )
CITY OF METHUEN, MASSACHUSETTS;    )
COMMONWEALTH OF MASSACHUSETTS; )
PAUL DIETL, IN HIS CAPACITY AS     )
PERSONNEL ADMINISTRATOR FOR THE )
COMMONWEALTH OF MASSACHUSETTS )
HUMAN RESOURCES DIVISION; JOHN     )
MICHAEL SULLIVAN, IN HIS CAPACITY  )
AS MAYOR OF THE CITY OF LAWRENCE, )
MASSACHUSETTS; WILLIAM MANZI, III, )
IN HIS CAPACITY AS MAYOR OF THE    )
CITY OF METHUEN, MASSACHUSETTS;    )
CITY OF LOWELL, MASSACHUSETTS;     )
WILLIAM F. MARTIN, IN HIS CAPACITY )
AS MAYOR OF THE CITY OF LOWELL,    )
MASSACHUSETTS; CITY OF WORCESTER, )
MASSACHUSETTS; and KONSTANTINA     )
B. LUKES, IN HER CAPACITY AS MAYOR )
OF THE CITY OF WORCESTER,          )
MASSACHUSETTS,                     )
                                   )
      Defendants                   )
                                   )


       CITY OF WORCESTER AND MAYOR KONSTANTINA B. LUKES
  ASSENTED TO MOTION TO ENLARGE TIME TO RESPOND TO COMPLAINT
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       Defendants City of Worcester and Mayor Konstantina B. Lukes, in her capacity as Mayor

of the City of Worcester (collectively the “Defendants”), move for enlargement of time within

which they must answer or otherwise respond to the Second Amended Complaint. In support of

this Motion, Defendants aver that the issues raised in the Second Amended Complaint are

complex and require some research efforts in order to effectively and accurately respond to the

allegations. Defendants request that the time in which they must respond be enlarged by two (2)

weeks, from January 27, 2008 to February 11, 2008 (February 10, 2008, falling on a Sunday).

       Plaintiffs have assented to the allowance of this motion.


                                             Respectfully submitted,

                                             CITY OF WORCESTER and
                                             MAYOR KONSTANTINA B. LUKES

                                             By their attorneys,

                                             /s/ Laurie W. Engdahl and /s/ Daniel C. Brown
                                             Laurie W. Engdahl BBO #554635
                                             Daniel C. Brown       BBO #648038
                                             Collins, Loughran & Peloquin, P.C.
                                             320 Norwood Park South
                                             Norwood, MA 02062
                                             781-762-2229

Dated: January 16, 2008
